                                                               Case 1:16-cv-00121-JNP Document 1 Filed 08/31/16 Page 1 of 1

 JS 44 (Rev. 12/12)                                                                                                                          CIVIL COVER SHEET
 The JS 44 civil cover sheet and the Information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, Is required for the use of the Clerk of Court for the
 purpose of Initiating the civil docket sheet. (SHE INS1'RUC110NS ON NEX'I' PAGE OF THIS FORM.)

                                                                                                                                                                                   u~~S1ffl~1?s~~I~d Immigration Services (California Service Center);
                                                                                                                                                                                   Leon Rodriguez, in his official capacity as Director of U.S. Citizenship and
                                                                                                                                                                                   Immigration Services; and Department of Homeland Security, an agency of
       (ll) County ofResidence ofFirst Listed Plaintiff  Davis                                                                             County                                    County of Residence of First Listed Defendant Orange County, CA
                              (EXCEPT IN U.S. PLAIN11FF CASES)                                                                                                                                                   (IN U.S. PLAIN11FFCASHSONLY)
                                                                                                                                                                                      NOTE:        IN LAND CONDEMNATION CASES, USE Tiffi LOCATION OF
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   (C) AltQfneys (Flnu.Namo,[Add1J·ess, a11d .T~lop/JOllO NH111bo1~                                                                                                                   Attorneys (IfK11ow1~
 Lewrs M. t-ranc1s, t::sq.; es ey A. Marney, Esq.
 Jones Waldo Holbrook & McDonough, 170 S. Main St., Suite 1500
 Salt Lake City, Utah 84101 I Phone: (801) 521-3200
 II. BASIS OF JURISDICTION {Placoa11"X"1noneBox011ly)                                                                                                                 Ill. CITIZEN SHIP OF PRINCIPAL PARTIES (Place cm "X" 111 011e Bo.~for Plallll/ff
                                                                                                                                                                                (For Divarslfy Cases On/)~                                                          and One Box for Defo11dm11)
 01            U.S. Government                                            0 3 Federal Question                                                                                                            PTF                     DEF                                              PTF       DEF
                 Plaintiff                                                      (U.S. Gol'el'ltme111 Not a Part)~                                                         Citizen of This State           0 1                     0            Incorpornted or Principal Place      l!ll 4 0 4
                                                                                                                                                                                                                                                  of Business In This State

 ~2            U.S. Government                                           0 4 Diversity                                                                                    Citizen of Another State                  0              0           Incorporated and Principal Place         0         (!( 5
                  Defendant                                                    (!tu/lcato C/l/ze11s/tlp ofParties 111 Item Ill)                                                                                                                   of Business In Another State

                                                                                                                                                                          Citizen or Subject of a                   0              0           Foreign Nation                           0    6    0 6
                                                                                                                                                                            Fore! n Count
 IV ' NATUREI OF SUIT (Place cm "X" /11 0110 Box OnM
I':''.·'   ·:.;;::::·.'':'CONTRA:cT:'::· :'.-:;:.:::;y,\X=. ::·:·'.::;.,,,,,.,.\,;::;;:w;;,:;::·:•>.;;::'·l'i,,':i:::,h'\'i',TORTS':'F"''···....· ,.,,.,,...,:·).;     ,,, \{'F "' FETTURE/PEN' TW"'' ·,:._:::;:·;\·\:::..; ':llAN((RIJPTCY·:"\\:.'i            i'   ,';::,:··.::::'OTHER'STATUTES' '·":.\I
 0     11 0 Insurance                                                       PERSONAL INJURY                                       PERSONAL INJURY                         0 625 Drng Related Selwre                        o 422 Appeal 28 use 158                   0   375 False Claims Act
 0     120 Marine                                                      0 310 Airplane                                           0 365 Personal Injury -                         of Property 21USC881                       0 423 Withdrawal                          0   400 State Reapportionment
 0     130 Mlller Act                                                  0 3 I5 Airplane Product                                        Product Liablllty                   0 690 Other                                            28 use 157                          0   410 Antltrnst
 0     I40 Negotiable Instnunent                                                 Liability                                      0 367 Health Care/                                                                                                                   0   430 Banks and Bnnklng
 0     150 Recovery of Overpayment                                     O 320 Assault, Libel &                                         Phannaceutlcal                                                                                '"·"vml<lllTIS•' >,')'
                                                                                                                                                                                                                           '-;:;;;;-::PROP                           0   450 Commerce
            & Enforcement of Judg111ent                                          Slander                                              Personal Injury                                                                      0 820 Copyrights                          0   460 Deportation
 0     15 I Medicare Act                                               0 330 Federal Employers'                                       Product Liability                                                                    0 830 Patent                              0   470 Racketeer Influenced and
 0     152 Recovery of Defaulted                                                 Liability                                      0 368 Asbestos Personal                                                                    0 840 Trndenmrk                                   Com1pt Organizations
            St11dent Loans                                             0 340 Marine                                                    Injury Product                                                                                                                0   480 Consumer Credit
            (Excludes Veterans)                                        0 34 5 Marine Product                                          Liability                                         .Ld"'"''" .,......   ··~·:<:·.t·
                                                                                                                                                                                                                           ·;.",>SOC A ···'" 111 TW:· _,_.,,,,..     0   490 Cable/Sat TV
 0     153 Recovery of Overpayment                                               Llablllty                                       PERSONAL PROPERTY                        0   710 Fair Labor Standards                     0 861 HIA (139511)                        0   850 Securltles/Conunodities/
            of Veteran's Benefits                                      0 350 Motor Vehicle                                      0 370 Other Frnud                                   Act                                    0 862 Black Lung (923)                            Exchange
0      160 Stockholders' Suits                                         0 355 Motor Vehicle                                      0 371 Truth In Lending                    0   720 Labor/Management                         0 863 DIWC/DIWW (405(g))                  0   890 other Statutory Actions
0      190 Other Contract                                                       Product Liability                               0 380 Other Personal                                Relations                              0 864 SSID Title XVI                      0   891 Agricultural Acts
0      195 ~ontract Product Liability                                  0 360 Other Personal                                           Property Damage                     O   7•to Railway Labor Act                       0 865 RSI (405(g))                        0   893 Envlro1unental Matters
0      196 rnnchlse                                                             htjury                                          0 385 Property Damage                     O   75 l Family and Medical                                                                0   895 Freedom oflnfonnation
                                                                       O 362 Personal Injury -                                        Product Liability                             Leave Act                                                                                Act
                                                                                Medical Malpractice                                                                       0   790 Oilier Labor Litigation                                                     0          896 Arbitration
I n.>'U:'.':RlMVPROPERT.Y. .·~:;~.~U\{1,\:.                           \ii'.Jii,eGiVIIi:RlGHTS 'Hf\.H                           :lPJUSONER'PETITI ONS'ic:'                 O   791 Employee Retirement                      :l:,i;\}lEDERAL'!l'AXiSUJTS i\;i': l>'3       899 Admlnlstrntive Procedure
0     210 Land Condemnation                                           0 440 Other Civil Rights                                     Habeas Corpus:                                  Income Security Act                      0 870 Taxes (U.S. Plaintiff                      Act/Review or Appeal of
0     220 Foreclosure                                                 0 441 Voting                                             0 463 Allen Detainee                                                                                  or Defendant)                           Agency Decision
0     230 Rent Lease & Ejectment                                       0 442 Employment                                        0 510Motions to Vacute                                                                       0 871 IRS-Third Party              0         950 Constitutionality of
0     240 Torts to Land                                               0 443 Housing/                                                  Sentence                                                                                       26 use 7609                             State Statutes
0     245 Tort Product Liability                                                Accommodations                                 0 530 General
0     290 All Other Real Property                                      0 445 Amer. w/Disabilltles •                            0 535 Death Penalty                        :;:,,,;,\'''\1MMIGRA'l'lON '.· ),::::~l:,,
                                                                                Employment                                         Other:                                 0 462 Naturalization Application
                                                                       0 446 Amer. w/Disabllltles •                            O 540 Mandamus & Other                     0 465 Other lnunlgratlon
                                                                                Other                                          0 550 Civil Rights                                      Actions
                                                                      0 448 Education                                          0 555 Prison Condition
                                                                                                                               0 560 Civil Detainee·
                                                                                                                                      Conditions of
                                                                                                                                      Confinement
V, ORIGIN (Placea11                                      "X"/11011eBo~·011/)~
)!! I Original                                   0 2 Removed from                                           0 3 Remanded from                                        0 4 Reinstated or           0 5 Transferred from                          0 6 Multldistrict
      Proceeding                                              State Court                                       Appellate Court                                          Reopened                    Another District                              Litigation
                                                                                                                                                                s cc/f>'l
                                                                               Cite the U.S. Civil Statute under which you are filln~{fo 11t1t c/tcj11rlsdlct/01111/ statutes 1111/ess d/1•crsll)~:
VI. CA USE OF ACTION l-'8_U_._s--.c--.-><§"'-'-1...;...10__1"'-,_et--s_e...:.i.;....a..;.n.;.;..d....;.5;...U...;...._s--.c--.-"----'2,--e_.;.t_se-.L...- - - - - - - - - - - - - - - - - - -
                                                                               Brief description of cause:
                                                                                Judicial review of USCIS denial of Immigration application
VII. REQUESTED IN                                                              0 CHECK IF THIS JS A CLASS ACTION                                                              DEMAND$                                                        CHECK YES only If demanded in complaint:
     COMPLAINT:                                                                         UNDER RULE 23, F.R.Cv.P.                                                                To be Determined                                             JURY DEMAND:         0 Yes     ~No




                                                                                                                                                                                                                                       Case: 1:16cv00121
FOR OFFICE USE ONLY                                                                                                                                                                                                                    Assigned To : Wells, Brooke C.
      RECEIPT I/                                              AMOUNT                                                                         APPLYING IFP                                             JUDGE
                                                                                                                                                                                                                                       Assign. Date : 8/31/2016
                                                                                                                                                                                                                                       Description: Utah Life Real Estate
                                                                                                                                                                                                                                       Group v. U.S. Citizenship and
                                                                                                                                                                                                                                       IlllTiigration Services et al
